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                    UNITED STATES DISTRICT COURT
                  SOUTHERN DISTRICT OF CALIFORNIA

ANA LESIC                   )               Case No. '19CV369 BEN WVG
   Plaintiff,               )
v.                          )
                            )
UNITED STATES DEPARTMENT OF )
JUSTICE, CRIMINAL DIVISION  )
                            )               COMPLAINT FOR
and                         )               DECLARATORY AND
                            )               INJUNCTIVE RELIEF
UNITED STATES DEPARTMENT OF )               UNDER THE FREEDOM
STATE,                      )               OF INFORMATION ACT
                            )
and                         )
                            )
UNITED STATES EXECUTIVE     )
OFFICE OF U.S. ATTORNEYS    )
                            )
   Defendants.              )
                            )




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                              I.     INTRODUCTION

       1.   Plaintiff files this action under the Freedom of Information Act

(FOIA), 5 U.S.C. § 552, for injunctive and other appropriate relief seeking

disclosure and release of agency records improperly withheld by Defendants U.S.

Department of Justice, Criminal Division, U.S. Department of State, and United

States Executive Office of U.S. Attorneys.

                                   II.   PARTIES

       2.   Plaintiff Ana Lesic is a native and citizen of Croatia who resides in

the Southern District of California. By and through her attorney, Cheri Attix,

Plaintiff has requested specific agency records pursuant to the FOIA, 5 U.S.C. §

552.

       3.   Defendant United States Department of Justice, Criminal Division,

(“DOJ”) is an agency within the Executive Branch of the government of the United

States. DOJ is an agency within the meaning of FOIA, 5 U.S.C. § 552(f). DOJ has

custody and control of the specific agency records requested by Plaintiff pursuant

to FOIA.

       4.   Defendant United States Department of State (“DOS”) is an agency

within the Executive Branch of the government of the United States. DOS is an




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agency within the meaning of FOIA, 5 U.S.C. § 552(f). DOS has custody and

control of the specific agency records requested by Plaintiff pursuant to FOIA.

      5.     Defendant United States Executive Office of U.S. Attorneys

(“EOUSA”) is an agency of the Department of Justice within the Executive Branch

of the government of the United States. EOUSA is an agency within the meaning

of FOIA, 5 U.S.C. § 552(f). EOUSA has custody and control of the specific

agency records requested by Plaintiff pursuant to FOIA.

                                III.    JURISDICTION

      6.     This action arises under the FOIA pursuant to 5 U.S.C. § 552, which

grants the district court of the United States “jurisdiction to enjoin [an executive]

agency from withholding agency records and to order the production of any agency

records improperly withheld from the complainant.” 5 U.S.C. §§ 552(a)(4)(B).

This Court also has jurisdiction over this action pursuant to 28 U.S.C. § 1331

(Federal Question) as this action arises under the Freedom of Information Act, 5

U.S.C. § 552.

      7.     The aid of this Court is further invoked under 28 U.S.C. §§ 2201-2,

authorizing a declaratory judgment and any further necessary and proper relief.

                                       IV.   VENUE

      8.     Venue is properly with this court pursuant to 28 U.S.C. § 1391(e)

because the Defendants are all agencies of the United States; the Plaintiff resides in


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this judicial district; and there is no real property involved in this action. The

FOIA also provides for venue in the judicial district where the Plaintiff resides. 5

U.S.C. § 552(a)(4)(B).

                  V.     TIME FOR DEFENDANT TO RESPOND

        9.    Pursuant to the FOIA, Defendants have thirty (30) days to respond to

this Complaint. 5 U.S.C. § 552(a)(4)(C).

                           VI.    STATEMENT OF FACTS

        10.   Plaintiff’s suit is based on information she requested regarding an

extradition request by her home country. On information and belief, Croatia

initiated this request as long ago as 2008. Based on newspaper reports in Croatia,

the United States is believed to have issued a refusal to this request on an unknown

date.

              A. DOJ FOIA Request

        11.   On August 6, 2018, Plaintiff, by and through her attorney, properly

filed a FOIA request for specific agency records from DOJ pursuant to the

Freedom of Information Act via U.S. Post Office Priority Mail, certified return

receipt requested to the address given on the DOJ’s Criminal Division FOIA

information page at https://www.justice.gov/criminal/crm-freedom-information-

act. The Plaintiff’s request to the DOJ is attached as Exhibit A.




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      12.    On September 17, 2018, the DOJ responded by email acknowledging

receipt of the Plaintiff’s FOIA request on August 13, 2018. This response assigned

the matter a case number (CRM-300678529) and invoked an additional ten days’

response time pursuant to 5 U.S.C. § 522(a)(6)(B)(i)-(iii). The DOJ’s response is

attached as Exhibit B.

      13.    On November 28, 2018, the DOJ responded to Plaintiff’s email status

inquiry by stating that the request had been placed on the complex track and that

the average time for a complex track request is 203 days. The DOJ’s email is

attached as Exhibit C.

      14.    As of the date that this Complaint is filed, DOJ has failed to conduct a

legally adequate search for the requested agency records within the time period

mandated by the FOIA and has failed to produce all responsive agency records to

Plaintiff within that same time period.

             B. DOS FOIA Request

      15.    On August 1, 2018, Plaintiff properly filed a FOIA request for

specific agency records from DOS pursuant to the Freedom of Information Act via

U.S. Post Office Priority Mail, certified return receipt requested to the address

given on the DOS’s FOIA information page at

https://foia.state.gov/Request/FOIA.aspx#Step-4. The Plaintiff’s request to the

DOS is attached as Exhibit D.


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        16.   On September 11, 2018, the DOS responded by mail acknowledging

receipt of the Plaintiff’s FOIA request on August 14, 2018. This response assigned

the matter a case number (F-2018-06274) and stated that, “we have placed your

request in the complex category.” The DOS response letter is attached as Exhibit

E.

        17.   As of the date that this Complaint is filed, DOS has failed to conduct a

legally adequate search for the requested agency records within the time period

mandated by the FOIA and has failed to produce all responsive agency records to

Plaintiff within that same time period. Plaintiff’s requests to the Defendants have

now been pending for six months without a response.

              C. EOUSA FOIA Request

        18.   On August 1, 2018, Plaintiff properly filed a FOIA request for

specific agency records from EOUSA pursuant to the Freedom of Information Act

via U.S. Post Office Priority Mail, certified return receipt requested to the address

given on the EOUSA’s FOIA information page at

https://www.justice.gov/usao/resources/making-foia-request. The Plaintiff’s

request to the EOUSA is attached as Exhibit F.

        19.   On August 29, 2018, EOUSA responded by email acknowledging

receipt of the Plaintiff’s FOIA request on August 14, 2018. This response assigned

the matter a case number (EOUSA-2018-005400) and invoked an additional ten


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days’ response time pursuant to 5 U.S.C. § 522(a)(6)(B)(i)-(iii). The response

noted that the Plaintiff’s request had been assigned to the complex track and that

while “simple requests usually receive a response in approximately 30 business

days, […] complex requests necessarily take longer.” The EOUSA’s response is

attached as Exhibit G.

      20.    As of the date that this Complaint is filed, EOUSA has failed to

conduct a legally adequate search for the requested agency records within the time

period mandated the FOIA and has failed to produce all responsive agency records

to Plaintiff within that same time period.

      21.    Plaintiff’s requests to the Defendants have now been pending for six

months without a response.

               XIII. EXHAUSTION OF ADMINISTRATIVE REMEDIES

      22.    Where the agency has failed to respond within the prescribed 20-

working-day period, the requester is deemed to have exhausted her administrative

remedies, and the requester may file suit in the federal district court to enforce the

FOIA. 5 U.S.C. § 552(a)(6)(C)(i); 5 U.S.C. § 552(a)(4)(B).

                                   XII. CAUSE OF ACTION
                               (FOIA VIOLATION, 5 U.S.C. § 552)

      23.    Plaintiff incorporates the allegations in the paragraphs above as

though fully set forth here.




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      24.    The FOIA statute requires that a response to a request be issued within

20 days, excepting Saturdays, Sundays, and legal public holidays. 5 U.S.C. §

552(a)(6)(A)(i). Although an agency may extend the response time by an

additional ten working days pursuant to 5 U.S.C. § 522(a)(6)(B)(i)-(iii), there is no

provision in the FOIA for any additional response time.

      25.    All three Defendants have violated the FOIA by failing to produce

any and all non-exempt records responsive to Plaintiff’s request within the twenty

(20) working day responsive time period set forth at 5 U.S.C. § 552(a)(6)(A)(i).

The two Defendants who invoked an additional 10-day response period pursuant to

5 U.S.C. § 522(a)(6)(B)(i)-(iii) have additionally failed to respond within their self-

set deadline. Plaintiff’s requests to the Defendants have now been pending for six

months without a response.

      26.    The Defendants are unlawfully withholding the responsive agency

records requested by Plaintiff, in violation of 5 U.S.C. § 552.

                               XIII. PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays that this Court grant the following relief:

             (1) Assume jurisdiction over this matter;

             (2) Order the Defendants to conduct a search of any and all records

                responsive to Plaintiff’s FOIA request and demonstrate that it




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            employed search methods reasonably likely to lead to the

            production of records responsive to Plaintiff’s FOIA request;

         (3) Order the Defendants to produce, by a date certain, any and all

            non-exempt agency records responsive to Plaintiff’s FOIA request

            and produce a Vaughn index of any responsive records withheld

            under a claim of exemption;

         (4) Enjoin the Defendants from withholding any and all non-exempt

            agency records responsive to Plaintiff’s FOIA request;

         (5) Award costs and reasonable attorney’s fees pursuant to the

            Freedom of Information Act, 5 U.S.C. § 552(a)(4)(E); and

         (6) Grant such other relief as the Court deems just and proper.

Respectfully submitted on this 22nd day of February 2019.

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